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             KAITLIN M TRIJ.r'C"
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 8                             UNITED STATES DISTRICT COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      Case No.:
12                                                                  '18 MJ 110 81
                                   Plaintiff,
13                                                  COMPLAINT FOR VIOLATION OF
14          V.
                                                    Title 21, U.S.C. §§ 952, 960
15                                                  Importation of a Controlled Substance
     Austin Travis DEMPSEY,
                                                    (Felony)
16
                                 Defendant.
17
                                                    FIRST AMENDED COMPLAINT
18
19
           The undersigned complainant duly sworn states:
20
21                                              COUNTl
           On or about October 28, 2018, within the Southern District of California, defendant,
22
23 Austin Travis DEMPSEY, did knowingly and intentionally import 500 grams and more, to
24 wit: approximately 57.54 kilograms (126.85 pounds), of a mixture and substance
25
   containing a detectable amount of methamphetamine, a Schedule II Controlled Substance,
26
2 7 into the United States from a place outside thereof, in violation of Title 21, United States
28
     Code, Sections 952 and 960.
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                                             COUNT2
 1         On or about October 28, 2018, within the Southern District of California, defendant,
 2
     Austin Travis DEMPSEY, did knowingly and intentionally import 5 kilograms and more,
 3
 4 to wit: approximately 14.72 kilograms (32.45 pounds), of a mixture and substance
 5
     containing a detectable amount of cocaine, a Schedule II Controlled Substance, into the
 6
     United States from a place outside thereof, in violation of Title 21, United States Code,
 7
 8 Sections 952 and 960.

 9
           And the complainant states that this complaint is based on the Statement of Facts
10
     which is incorporated herein by reference.
11
12
                                                              S ecial Agent
13
                                                   Homeland Security Investigations
14
15
     SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE, THIS 29th DAY
16
     OF OCTOBER 2018.
17
18                                                ~NTENEGRO
                                                  U.S. MAGISTRATE JUDGE
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          Case 2:18-mj-11081-RBM Document 2 Filed 10/29/18 PageID.9 Page 3 of 5
            KAITLIN Mc TRACEY'

 l   UNITED STATES OF AMERICA
     V.
 2 Austin Travis DEMPSEY
 3
                                     STATEMENT OF FACTS
 4
 5
            This First Amended Complaint is being amended to reflect the correct amount of

 6 packages in the second paragraph on page four.
 7
            On October 28, 2018, Customs and Border Protection Officer (CBPO) A. Rubio was
 8
 9 working vehicle primary lane six at the Calexico, California East Port of Entry (POE) when
10 Austin Travis DEMPSEY (DEMPSEY), DOB: 10/22/1996, a United States citizen, applied
11
     for admission into the United States at approximately 12:34 a.m.
12
13          Driving a Ford F-150 pickup truck with California plates, DEMPSEY presented a

14 valid Idaho driver's license and gave a negative Customs declaration to CBPO Rubio.
15
     When asked about the purpose of his visit to Mexico, DEMPSEY stated that he was visiting
16
17 a friend who had served with him in the United States Marine Corps. CBPO Rubio began
18 examining the Ford F-150, of which DEMPSEY was the sole occupant and a registered co-
19
     owner.
20

21            In inspecting the F-150, CBPO Rubio tapped on the gas tank, which produced a

22 solid noise that he found abnormal. CBPO Rubio then referred the F-150 for further
23
     examination in the vehicle secondary lot and requested an inspection by a canine detection
24
25 team. After DEMPSEY turned off the vehicle and was detained, the canine detection

26 officer screened the F-150 with his canine, and the canine alerted to the doors of the vehicle.
27
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              Working as the primary operator of the x-ray machine, CBPO Rubio scanned the
 1
 2 Ford F-150 and noticed anomalies on both sets of doors and within the gas tank of the
 3
     truck.    CBPO Rubio then notified CBPO J. Duarte of his findings and contacted a
 4
     contractor to remove the gas tank from the F-150. After discovering packages within the
 5
 6 opened gas tank, CBP officers also opened the interior door panels and extracted additional
 7
     packages of suspected narcotics.
 8
 9            Within the gas tank and the doors of the F-150, CBP officers discovered a total of

10 130 packages, 118 found to contain a white, crystalline substance that field tested positive
11
     for the presence of methamphetamine and 12 found to contain a white, crystalline
12
13 substance that field tested positive for the presence of cocaine. The cumulative weight of
14 the 118 packages seized was approximately 57.54 kilograms (126.85 pounds), and the
15
     cumulative weight of the other 12 packages seized was approximately 14.72 kilograms
16
17 (32.45 pounds).
18            On October 28, 2018, at approximately 1: 15 A.M., SA Daviz Pham and SA Andrew
19
     Schloe were notified by CBP of DEMPSEY' s seizure and arrest and responded to the
20
21 Calexico, CA East POE at approximately 2:30 a.m. At approximately 3 :55 a.m., SAs Pham
22 and Schloe began the post-arrest interview of DEMPSEY. DEMPSEY was advised of his
23
     Miranda Rights, which he acknowledged and stated that he was willing to answer questions
24
25 without the presence of an attorney.

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           During his statement, DEMPSEY stated that he knowingly attempted to smuggle
 1
 2 narcotics in his vehicle and that he was to be paid $15,000 after delivery of the narcotics
 3
     to an unknown person at an unspecified meeting point in Los Angeles, California.
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